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  8                       UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
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 11    ELBERT E. HIDALGO,                       Case No. 2:20-cv-08406-RGK-PD
 12                       Plaintiff,            ORDER ACCEPTING REPORT
 13          v.                                 RE: DEFENDANTS’ MOTIONS
                                                TO DISMISS AND ADOPTING
 14                                             FINDINGS, CONCLUSIONS,
       ENGLE, et. al.,                          AND RECOMMENDATIONS
 15
                                                OF UNITED STATES
 16                       Defendants.           MAGISTRATE JUDGE
 17
 18         Pursuant to 28 U.S.C. § 636, the Court has reviewed Plaintiff’s First
 19   Amended Complaint, the motions by Defendants Goodwin, Partida, Johnson,
 20   Wiggins, and Campa to dismiss the First Amended Complaint, the Report and
 21   Recommendation of United States Magistrate Judge (“Report”), Plaintiff’s
 22   Objections to the Report, and Defendants’ Reply to Plaintiff’s Objections. The
 23   Court has engaged in a de novo review of those portions of the Report to which
 24   Plaintiff objected. The Court accepts the findings and recommendations of the
 25   Magistrate Judge and adopts them as its own findings and conclusions.
 26         IT THEREFORE IS ORDERED that the motions by Defendants
 27   Goodwin, Partida, Johnson, Wiggins, and Campa to dismiss be granted in full;
 28   that the First Amended Complaint as to those Defendants be dismissed
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  1   without leave to amend; that the First Amended Complaint against
  2   Defendant Engle, who has not been served, be dismissed without leave to
  3   amend; and that judgment be entered dismissing this action with prejudice.
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       DATED: September 23, 2021.
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                                         R. GARY KLAUSNER
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                                         UNITED STATES DISTRICT JUDGE
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